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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

SAMUEL BLUM, RICHARD BROOKE * _CIVILACTION
AND CHRISTINA HELLMERS __ 0 9

‘ ~9397
VERSUS * NUMBER:

*

SECT T Mac 1

NEWELL NORMAND, IN HIS OFFICIAL
CAPACITY AS SHERIFF OF JEFFERSON
PARISH; NICHOLAS VEGA, A. J. THIBODAUX, *
GEORGE HONSES, BRETT BEAVERS,

DAVID MASCARO, MYRON GAUDET,

MARTIN DUNN AND UNKNOWN DEPUTIES *
INDIVIDUALLY, AND IN THEIR OFFICIAL
CAPACITIES AS DEPUTY SHERIFFS

SECT. __. MAG.

COMPLAINT
NOW COME plaintiffs, SAMUEL BLUM, RICHARD BROOKE and

CHRISTINA HELLMERS, through undersigned counsel, who respectfully represent:

I. JURISDICTION

1. ‘This. action is brought pursuant to 42 U.S.C. 1983 and 1988.

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Jurisdiction ig founded on 28 U.S.C. Section 1331 and 1343, the First, Fourth and
Fourteenth Amendments to the Constitution of the United States. Supplemental

jurisdiction over claims under state constitutional and Statutory law is also invoked.

ll. PARTIES
(PLAINTIFFS)

2. SANMUEL BLUM (hereinafter “BLUM’), an adult citizen of the State of
Louisiana and domiciled in the Eastern District of Louisiana.

3. RICHARD BROOKE (hereinafter “BROOKE”), an adult citizen of the
State of Louisiana and domiciled in the Eastern District of Louisiana.

4. CHRISTINA HELLMERS (hereinafter “HELLMERS’), an adult citizen
of the State of Louisiana and domiciled in the Eastern District of

Louisiana.
(DEFENDANTS)

5. NEWELL NORMAND, in his official capacity as Sheriff of Jefferson
Parish, an adult citizen of the State of Louisiana and domiciled in the
Eastern District of Louisiana is named a defendant herein.

6. NICHOLAS VEGA (hereinafter “VEGA”), individually and in his
official capacity as a Jefferson Parish Sheriffs Deputy, an adult
citizen of the State of Louisiana and domiciled in the Easter District of
Louisiana.

7. | GEORGE HONSES (hereinafter “HONSES’), individually and in his
official capacity as a Jefferson Parish Sheriff's Deputy, an adult
citizen of the State of Louisiana and domiciled in the Eastern District of
Louisiana. .

8. | MARTIN DUNN (hereinafter “DUNN”), individually and in his official
capacity as a Jefferson Parish Sheriff's Deputy, an adult citizen of
the State of Louisiana and domiciled in the Eastern District of
Louisiana.
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10.

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12.

13.

MYRON GAUDET (hereinafter “GAUDET’), individually and in his
official capacity as a Jefferson Parish Sheriff's Deputy, an adult
citizen of the State of Louisiana and domiciled in the Eastern District of
Louisiana.

BRETT BEAVERS (hereinafter “BEAVERS’), individually and in his
official capacity as a Jefferson Parish Sheriff's Deputy, an adult
citizen of the State of Louisiana and domiciled in the Eastern District of
Louisiana.

DAVID MASCARO (hereinafter “MASCARO’), individually and in his
official capacity as a Jefferson Parish Sheriff's Deputy, an adult
citizen of the State of Louisiana and domiciled in the Eastern District of
Louisiana.

A. J. THIBODAUX, (hereinafter “THIBODAUX’), individually and in
his official capacity as a Jefferson Parish Sheriff's Deputy, an adult
citizen of the State of Louisiana and domiciled in the Easter District of
Louisiana.

UNKNOWN DEPUTIES, individually and in their official capacity as
Jefferson Parish Sheriffs Deputies, adult citizens of the State of
Louisiana and domiciled in the Eastem District of Louisiana.

Ill. FACTUAL ALLEGATIONS

14.

On or about February 5, 2008 at approximately 5:00 p.m.., the plaintiffs,

BLUM, BROOKE and HELLMERS, were attending a Mardi Gras parade in

Jefferson Parish. They were located in the area of Severn Avenue and Veterans

Boulevard. Shortly after a parade had ended, the plaintiffLUM and HELLMERS,

approached, upon information and belief, VEGA, HONSES, DUNN, GAUDET,

BEAVERS, MASCARO, THIBODAUX and other UNKNOWN DEPUTIES who were

at said intersection to inquire as to whether any of the said defendants had

information about an auto accident that had just occurred involving a friend of theirs.

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Said defendants advised the plaintiffs that they had no information in regards the
accident. In response the plaintiffs asked if the defendants could use their police
radios to assist them in leaming the status of their friend’s condition. The
defendants became angry with the two plaintiffs and cursed them. As the two
plaintiffs started to walk away, BLUM, stated words to the effect "This is Jefferson
Parish’s finest hard at work’.

15. Suddenly and without warning, as the plaintiff, BLUM, began to walk
away from the defendants, he was grabbed from behind by the head and thrown to
the ground by one or more of the defendants. One of the defendants then
proceeded to choke him. While being choked, he was punched multiple times in his
body by two of the other defendants. .

16. After this beating he was pulled up to his feet. The defendants then
pushed him away and stated: “Get out of here”.

17. After the defendants pushed BLUM away and stated: “Get out of here”,
the plaintiff, HELLMERS, verbally confronted the defendants for their brutality. In
an effort to diffuse the situation BLUM stepped toward HELLMERS, grabbed her by
the arms and stated “Let's go”. When BLUM grabbed HELLMERS’ arm to pull her
away, he was again attacked by the defendants. Upon information and belief, he
was attacked by VEGA, HONSES, DUNN, GAUDET and other UNKNOWN

DEPUTIES who choked and beat him with their firsts.

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18. As a result of this second beating at the hands of the defendants, the
plaintiff, BLUM, fell face first to the ground. His hands were then handcuffed behind
his back by one of the defendants. After he was cuffed, and.while face down on the
ground one of the defendants placed his foot on BLUM’S head and pushed his face
into the ground and stated: “Do you like that, do you want to resist again?”.

19. The defendants then moved BLUM to a spot where he was placed on
the ground in a seated position. At this point one of the defendant, UNKNOWN
DEPUTIES, a black male deputy, intentionally stood on BLUM’S wrists and cuffs
causing severe pain while the other defendants attended to what appeared to be
paperwork.

20. As BLUM was being beaten for the second time by the defendants, the
plaintiff, BROOKE, attempted to take pictures of the incident with his cell phone. As
BROOKE attempted to take pictures he was attacked by defendants, MASCARO,
BEAVERS, THIBODAUXand UNKNOWN DEPUTIES. BROOKE was thrown to the
ground where two or more of the defendants held him down and another defendant
repeatedly kicked him in the face.

21. After being beaten, BROOKE'S phone was taken from him by one of
the defendants. Ten to fifteen minutes later, his phone was returned to him.
Because the incident occurred so fast BROOKE does not know what, if any, pictures
were erased by the defendants.

22. Following his beatings, the plaintiff, BLUM was falsely and/or illegally
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arrested for the following: Disturbing the Peace in violation of La.R.S.14:103;
Criminal Trespass in violation of La.R.S. 14:633; Battery on An Officer in violation
of La.R.S. 14:34.2: and Resisting an Officer in violation of La.R.S. 14:108,

23. Following his beatings, the plaintiff, BROOKE, was falsely and/or
illegally arrested for the following: Disturbing the Peace in violation of La.R.S.
14:103; Battery on An Officer in violation of La.R.S. 14:34.2; Interfering With the
Police in violation of JP 20-24; and Resisting an Officer in violation of La.R.S.
14:108.

24. The plaintiff, HELLMERS, was falsely and/or illegally arrested for
Interfering With the Police in violation of JP 20-24.

25. Asa result of their arrests, BLUM, BROOKE and HELLMERS, were
falsely detained and imprisoned for four hours, four hours, and fifteen hours,
respectively.

26. As a result of their false and/or illegal arrests the plaintiffs were
prosecuied in Division A of First Parish Court for the Parish of Jefferson in case no.
F1762784 for all the same charges for which they had been arrested.

27. Asa result of his arrest and prosecution for the charges of Resisting
Arrest and Battery on An Officer, the plaintiff, BROOKE, was denied employment
and incurred lost wages, until said charges were dismissed.

28. On January 6, 2009, the plaintiffs, BLUM and BROOKE pled “no

contest” to the charge of Disturbing the Peace, under the provisions of.La. Criminal

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Code Art. 894. All the other charges against each and every plaintiff were
dismissed.

29. As aresult of being arrested and prosecuted for these charges each.of
the plaintiffs incurred fees for legal representation in the criminal cases as follows:
BLUM - $2,000.00; BROOKE - $2,000.00; HELLMERS - $1,000.00.

30. Contrary to the charges filed, at no time did any of the plaintiffs resist
arrest, batter an officer, interfere with police, trespass or disturb the peace.

31. All the defendants named in their individual capacity utilized excessive
force in connection with their restraining and/or arrest of BLUM and BROOKE.

32. Each of the defendants named in their individual capacity observed all
of the other defendants named in their individual capacity utilize excessive force
and/or falsely and/or illegally arrest each of the plaintiffs yet none of these
defendants reported this illegal activity to their supervisor and/or any other law
enforcement officer.

33. Following the illegal and/or false arrest and use of excessive force by
VEGA, HONSES, DUNN, GAUDET, BEAVERS, MASCARO, THIBODAUX and
UNKNOWN DEPUTIES, the same defendants conspired to cover up their illegal
and/or false arrest and use of excessive force. A step in furtherance of this

conspiracy was the beating and arrest of BROOKE and the subsequent destruction

and/or erasure by the defendants of any photographs taken by BROOKE. In

addition, the acts of falsely and/or illegally arresting all the plaintiffs for all the

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charges was an overt act taken by ail the individually named defendants to cover up
their use of excessive force.

34. — In addition to the already described use of excessive force, the plaintiff,
BLUM, was subjected to another incident of battery or excessive force when he was
punched in the nose while at the Jefferson Parish Correctional Center lock up on the
same day by an UNKNOWN DEPUTY described by BLUM as a female African
American deputy after he witnessed an inmate being beaten by guards. In response
to his witnessing this beating the above describeUINKNOWN female deputy stated:
“You didn’t see anything”.

35. Asaresult of the defendants’ illegal and/or false arrest of the petitioners
and the spoliation of evidence, battery and excessive force to BLUM and BROOKE
by the defendants; the plaintiffs suffered physical injuries to their chin, face, mouth,
head, neck, back, ribs, legs, arms and incurred legal and medical expenses, lost
income, pain, suffering, emotional and mental anguish, humiliation and violation of
their civil rights.

36. At all times mentioned herein, all the defendants named in their
individual capacities were employed by the defendant, SHERIFF NEWELL

NORMAND, and were acting in the course and scope of their employment with
SHERIFF NORMAND.

37. Prior to February 5, 2008, the defendant, SHERIFF NEWELL

NORMAND, developed and maintained policies or customs exhibiting deliberate

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indifference to the First and Fourth Amendment rights of persons in Jefferson Parish
to free Speech. and to be free from unreasonable search and seizure, which
deliberate indifference caused the violation of plaintiffs rights.

38. In addition, it is and was the policy and/or custom of the defendant,
SHERIFF NEWELL NORMAND, to inadequately and improperly investigate citizen
complaints of police misconduct involving false arrest and excessive force. Acts of
misconduct were instead tolerated by the defendant, SHERIFF NEWELL
NORMAND, including, but not limited to the prior incidents involving the defendants,
VEGA, HONSES, DUNN, GAUDET, BEAVERS, MASCARO, THIBODAUX and
UNKNOWN DEPUTIES.

39. It was the policy and/or custom of the defendant, SHERIFF NEWELL
NORMAND, to inadequately supervise and train its police officers, including the
defendant officers, thereby failing to adequately discourage further constitutional
violations on the part of its police officers. The defendant, SHERIFF NEWELL
NORMAND, did not require appropriate in service training or retraining of officers
who were known to have engaged in police misconduct.

40. {twas the policy and/or custom of the defendant, SHERIFF NEWELL
NORMAND, to refuse to terminate, suspend, discipline, warn, or in any way punish
and/or retrain its police officers including the defendant officers for incidents of false
arrest and/or excessive force, thereby failing to adequately discourage further

constitutional violations of a civil nature on the part of its police officers.
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41. The defendant, SHERIFF NEWELL NORMAND, knew or should have
known of prior acts of false and/or illegal arrest and/or excessive force utilized by the
defendants, VEGA, HONSES, DUNN, GAUDET, BEAVERS, MASCARO,
THIBODAUX and UNKNOWN DEPUTIES, yet he ignored these prior incidents and
hired the defendants nonetheless. In the alternative, the defendant, . SHERIFF
NEWELL NORMAND, negligently hired and retained the defendants, VEGA,
HONSES, DUNN, GAUDET, BEAVERS, MASCARO, THIBODAUX and
UNKNOWN DEPUTIES.

42. As aresult of the above described policies and customs, deputies of
SHERIFF NEWELL NORMAND including the defendant deputies, knew that their
actions would not be properly monitored by supervisory officers and that misconduct
would not be investigated and/or sanctioned but would be tolerated.

43. The above described policies and customs demonstrated deliberate
indifference on the part of the policymaker defendant, SHERIFF NEWELL
NORMAND, to the constitutional rights of persons within Jefferson Parish, and to the
plaintiffs and was a cause of the violations of plaintiffs’ rights alleged herein.

44. The defendant, SHERIFF NEWELL NORMAND, is liable to the plaintiffs
for damages as a result of his failure to properly supervise the defendants, VEGA,
HONSES, DUNN, GAUDET, BEAVERS, MASCARO, THIBODAUX and

UNKNOWN DEPUTIES.

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45. The defendant, SHERIFF NEWELL NORMAND, knew or should have
known of the violent propensities and misconduct of these specific defendant officers
vel ignored those violent propensities and previous acts of misconduct and hired
them and/or retained them and failed to properly supervise them. Said defendant,
SHERIFF NEWELL NORMAND, is aware of the mistreatment of civilians by these
defendant deputies yet has made no effort to impose sanctions on any of these
defendant deputies for previous actions involving false arrest and/or excessive force
or for previous incidents where said officers acted to cover up apparent criminal
conduct or civil rights violations by said defendant deputies.

46. The defendant, SHERIFF NEWELL NORMAND, by his failure to
properly supervise the above named defendant individual deputies condoned,
ratified and:encouraged the excessive use of force by failing to discipline the
individual deputies responsible for constitutional violations and by failing to establish
new procedures to prevent future occurrences. These actions or failures on the part
of the defendant Supervisor, SHERIFF NEWELL NORMAND, are gross negligence
in supervising subordinates who are responsible for violations and reflect a
deliberate indifference to the rights of others by failing to act on information that
constitutional rights were being violated.

47. All the defendants are liable to the petitioner for punitive damages.

48. The injuries suffered by the plaintiffs were solely and proximately

caused by the negligent and/or intentional acts of the defendants as previously

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described in paragraphs 14 through 47.
V. CAUSES OF ACTION

49. The actions of the individual defendant deputies resulted in violations
of the plaintiffs civil rights, in particular, their First Amendment right to free speech,
and their Fourth Amendment right against unreasonable search and seizure. The
actions of the individual defendant deputies in assaulting, battering, falsely arresting
and/or detaining, falsely imprisoning, slandering, spoliating evidence and causing
intentional infliction of emotional harm to the plaintiffs is also actionable under
Louisiana law.

50. At all times relevant hereto all of the named defendants were acting
within the course and scope of their employment with the defendant, SHERIFF
NEWELL NORMAND, and as such the doctrine of respondeat superior would apply
for all those state tort claims alleged in this Complaint.

51. Atall times mentioned herein, the individual defendant deputies were
employed by the defendant, SHERIFF NEWELL NORMAND Said defendants have
in the past violated the civil rights of other individuals as previously set out in the
preceding paragraphs by falsely arresting them and utilizing excessive force. The
defendant, SHERIFF NEWELL NORMAND, was aware of these incidents of civil
rights violations and other similar incidents involving the individual defendant
deputies, VEGA, HONSES, DUNN, GAUDET, BEAVERS, MASCARO,

THIBODAUX and UNKNOWN DEPUTIES, yet he refused to fire, train, retrain,

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punish, discipline, supervise or in any way reprimand these defendants. This
repeated failure on the part of the defendant, SHERIFF NEWELL NORMAND, to
address these previous civil rights violations by the defendant deputies, VEGA,
HONSES, DUNN, GAUDET, BEAVERS, MASCARO, THIBODAUX and’
UNKNOWN DEPUTIES, is an official policy of the defendant, SHERIFF NEWELL
NORMAND. This official Solty of deliberate indifference to the past civil rights
violations of its citizens resulted in the civil rights violations suffered by the plaintiffs
at the hands of the individual defendant deputies. The official policy fails to consider —
previous complaints of false arrest and excessive force of its officers when training
and disciplining Officers. It also has a policy of detaining individuals and utilizing
excessive force in violation of their civil rights. The defendant, SHERIFF NEWELL
NORMAND, is therefore independently liable to the plaintiffs regardless of the
defendant deputies’ individual liability, for all the damages caused by these official
policies.

92. The defendant, SHERIFF NEWELL NORMAND, is liable under state
law to the plaintiffs for his negligence in hiring, training, retraining, punishment,
discipline and supervision of the individual defendant deputies. This above
described negligence resulted in the damages to the plaintiffs which they sustained
as a result of their assault, battery, false arrest, false imprisonment, slander and

intentional infliction of emotional distress.

53. Pursuant to the Federal Civil Rights Action the petitioners are entitled

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to reasonable attomey’s fees and punitive damages.

54. The defendants are liable jointly, severally and in solido.
Vi. DAMAGES —

95. As a result of the aforedescribed civil rights violations, the plaintiffs
suffered physical injuries, mental and emotional pain and suffering, anguish and
distress, embarrassment, humiliation, lost earnings, medical expenses and legal
expenses.

56. Plaintiff, BLUM, iternizes his damages as follows:

a. General damages $100,000.00
b. Violation of his‘ civil rights $ 25,000.00
c. Medical expenses $ 5,000.00
d. Legal expenses $ 2,000.00
e. Punitive damages $100,000.00

5/7. Plaintiff, BROOKE, itemizes his damages as follows:

a. General damages $100,000.00
b. Violation of his civil rights $ 25,000.00
c. Medical expenses $ 10,000.00
d. Legal expenses $ 2,000.00
e. Punitive damages $100,000.00

98. Plaintiff, HELLMERS, itemizes her damages as follows:

a. General damages $ 50,000.00
b. Violation of his civil rights $ 25,000.00
C. Legal expenses $ 1,000.00
d. Punitive damages $ 50,000.00

59. Plaintiffs seek reasonable attommey's fees in accordance with 42 U.S.C.

§ 1988 plus judicial interest and for the defendants to bear all costs of these

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proceedings.

WHEREFORE, the plaintiffs, SAMUEL BLUM, RICHARD BROOKE and
CH RISTINE HELLMERS, pray that the defendants be duly cited and served copies
of the above and foregoing, made to timely appear and ‘answer, that the Court
exercises its supplemental jurisdiction over the state claims, and after due
proceedings, there be judgment in their favor and against defendants, SHERIFF
NEWELL NORMAND, INDIVIDUALLY AND IN HIS OFFICIAL CAPACITY AS
SHERIFF OF JEFFERSON PARISH, NICHOLAS VEGA, A. J. THIBODAUX,
GEORGE HONSES, BRETT BEAVERS, DAVID MASCARO, MYRON GAUDET,
MARTIN DUNN and UNKNOWN DEPUTIES, INDIVIDUALLY, AND IN THEIR
OFFICIAL CAPACITY AS DEPUTY SHERIFFS, holding them liable jointly, severally
and in solido for all compensatory and punitive damages alleged herein, together
with judicial interest, for all attorney's fees, and that the defendants bear alll costs of
these proceedings, and for all further legal, equitabie and general relief available.

Respectfully submitted;

PIERCE & B L
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GARY W/BIZAL (La. Bar No. 1255)

6$9 Loyola Avenue, Suite 1820

New Orleans, Louisiana 70113
(504)525-1328 Telephone (504)525-1353 Fax
email: piblaw@bellsouth.net

Attorney for Plaintiffs

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PLEASE SERVE:

SHERIFF NEWELL NORMAND:
JEFFERSON PARISH SHERIFF'S OFFICE
1233 Westbank Expressway

Harvey, LA 70058

DEPUTY NICHOLAS VEGA

JEFFERSON PARISH SHERIFF'S OFFICE
725 Maple Avenue

Harvey, LA 70058

DEPUTY A. J. THIBODAUX

JEFFERSON PARISH SHERIFF'S OFFICE
725 Maple Avenue

Harvey, LA 70058

DEPUTY GEORGE HONSES
JEFFERSON PARISH SHERIFF’S OFFICE
725 Maple Avenue

Harvey, LA 70058

DEPUTY BRETT BEAVERS

JEFFERSON PARISH SHERIFF'S OFFICE
725 Maple Avenue

Harvey, LA 70058

DEPUTY DAVID MASCARO

JEFFERSON PARISH SHERIFF’S OFFICE
725 Maple Avenue

Harvey, LA 70058

DEPUTY MYRON GAUDET

_ JEFFERSON PARISH SHERIFF'S OFFICE
725 Maple Avenue

Harvey, LA 70058

DEPUTY MARTIN DUNN

JEFFERSON PARISH SHERIFF'S OFFICE
725 Maple Avenue

Harvey, LA 70058

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